       Notice to Tenants of Buildings in Foreclosure
New York State Law requires that we provide you this notice about the
foreclosure process. Please read it carefully.

We, NDF1, LLC, are the foreclosing party and are located at c/o Hasbani
& Light, P.C. 450 Seventh Avenue, Ste 1408, New York, NY 10123. We can be
reached at (212) 643-6677.

The dwelling where your apartment is located is the subject of a foreclosure
proceeding. If you have a lease, are not the owner of the residence, and the
lease requires payment of rent that at the time it was entered into was not
substantially less than the fair market rent for the property, you may be entitled
to remain in occupancy for the remainder of your lease term. If you do not
have a lease, you will be entitled to remain in your home until ninety days after
any person or entity who acquires title to the property provides you with a
notice as required by section 1305 of the Real Property Actions and Proceedings
Law . The notice shall provide information regarding the name and address of
the new owner and your rights to remain in your home. These rights are in
addition to any others you may have if you are a subsidized tenant under
federal, state or local law or if you are a tenant subject to rent control, rent
stabilization or a federal statutory scheme.

ALL RENT-STABILIZED TENANTS AND RENT-CONTROLLED
TENANTS ARE PROTECTED UNDER THE RENT REGULATIONS WITH
RESPECT TO EVICTION AND LEASE RENEWALS. THESE RIGHTS
ARE UNAFFECTED BY A BUILDING ENTERING FORECLOSURE
STATUS. THE TENANTS IN RENT-STABILIZED AND RENT-
CONTROLLED BUILDINGS CONTINUE TO BE AFFORDED THE SAME
LEVEL OF PROTECTION EVEN THOUGH THE BUILDING IS THE
SUBJECT OF FORECLOSURE. EVICTIONS CAN ONLY OCCUR IN
NEW YORK STATE PURSUANT TO A COURT ORDER AND AFTER A
FULL HEARING IN COURT.

If you need further information, please call the New York State Department of
Financial Services' toll-free helpline at (800) 342-3736 or visit the Department's
website at www.dfs.ny.gov.
